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                                                                                                            September 08, 2022
                                                                                                        Nathan Ochsner, Clerk of Court




   prohibited by court order                                            September 08, 2022
                                        UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF TEXAS Nathan Ochsner, Clerk of Court
                                             HOUSTON DIVISION

           UNITED STATES OF AMERICA                                 §
                                                                    §                        4:22-cr-440
           vs.                                                      §   CRIMINAL NO. ____________
                                                                    §
           (1) SOHIL USMANGANI VAHORA,                              §
               aka Sam aka Bapu,                                    §   UNDER SEAL
           (2) ZAHEEN RAFIKBHAI MALVI,                              §
               aka Zaheen Ganchi aka Zak, and                       §
           (3) AMIRSINH DIWAN                                       §
               aka Hasan aka Hassan,                                §
                                                                    §
                          Defendants.                               §

                                             CRIMINAL INDICTMENT


         THE GRAND JURY CHARGES THAT:

                                                  INTRODUCTION

                 At times material to this Indictment:

                 1.      Defendants and others known and unknown to the Grand Jury were members of a

         criminal fraud conspiracy (the “Fraud Ring”) operating within the Southern District of Texas and

         elsewhere. The members of the Fraud Ring targeted victims throughout the United States, with

         the primary objective of tricking victims into sending money to the Fraud Ring. Commonly, those

         who fell prey to this fraud scheme were elderly persons.

                 2.      The scheme used a number of different scams. One common scam involved

         members of the Fraud Ring based in India calling victims by telephone and misrepresenting

         themselves as government officials. They falsely stated that the victims were under investigation

         because the victims’ Social Security numbers or identities were associated with criminal activity.

         To safeguard their assets, avoid arrest, or prevent government benefits from being cut off, the

         victims were instructed to send payment immediately.
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       3.       Sometimes victims were told to purchase gift cards in specific dollar amounts and

provide the redemption codes to the Fraud Ring over the phone. Co-conspirators in the United

States would use the redemption codes to purchase new gift cards or other items at retail stores.

       4.       Sometimes victims were told to mail parcels containing cash to names and

addresses provided by the Fraud Ring. The addresses given were generally FedEx and UPS pick-

up locations. Co-conspirators in the United States picked up these parcels using fake identification

documents.

       5.       Between January 2017 and August 2020, the Fraud Ring defrauded hundreds of

victims and caused more than $11,000,000 in losses.

                                      COUNT ONE
            (Conspiracy to Commit Mail Fraud and Wire Fraud – 18 U.S.C. § 1349)

       6.       Beginning in or about January 2017 and continuing through in or about August

2020, within the Southern District of Texas and elsewhere, Defendants

                   (1) SOHIL USMANGANI VAHORA aka Sam aka Bapu,
             (2) ZAHEEN RAFIKBHAI MALVI aka Zaheen Ganchi aka Zak, and
                        (3) AMIRSINH DIWAN aka Hasan aka Hassan

And others known and unknown to the Grand Jury, did knowingly conspire and agree with at least

one other person to commit the following offenses:

                a.     To knowingly devise and intend to devise a scheme and artifice

                       to defraud, and for obtaining money and property by means of

                       materially false and fraudulent pretenses, representations, and

                       promises, knowing that the pretenses, representations, and

                       promises were false and fraudulent when made, and to knowingly

                       use and cause to be used the United States mail and private and

                       commercial interstate carriers for the purpose of executing the

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                      scheme and artifice to defraud in violation of 18 U.S.C. § 1341

                      (mail fraud); and

              b.      To knowingly devise and intend to devise a scheme and artifice

                      to defraud, and for obtaining money and property by means of

                      materially false and fraudulent pretenses, representations, and

                      promises, knowing that the pretenses, representations, and

                      promises were false and fraudulent when made, and to knowingly

                      use and cause to be used interstate and foreign wire

                      communications facilities in carrying out the scheme and artifice

                      to defraud, in violation of 18 U.S.C. § 1343 (wire fraud).

A.     The Manner and Means of the Scheme

       In furtherance of this conspiracy and to effect the objects thereof, the Defendants and other

unindicted co-conspirators used the following manner and means, among others:

       7.     Co-conspirators would make telephone calls to victims throughout the United

States, including within the Southern District of Texas, and make false statements and promises,

such as:

              a.      that the caller worked for the United States government;

              b.      that the victims were under investigation or scrutiny by the

                      United States government; and

              c.      that the victims could avoid further investigation or scrutiny or

                      avoid the United States government taking action against the

                      victims’ assets by sending payment.

       8.     Generally, the Fraud Ring would instruct the victims to provide funds in one or

more of the following ways:
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               a.       Purchase gift cards in specific dollar amounts and give the

                        redemption codes on the gift cards to the Fraud Ring over the

                        telephone.

               b.       Mail cash in a parcel using a private mail carrier such as Federal

                        Express (“FedEx”).

       9.      When a victim purchased a gift card and gave the redemption code to the Fraud

Ring, a member of the conspiracy acting as a “handler” would use cellular signals to send the

redemption code to a member of the conspiracy acting as a “runner” in order for the runner to

liquidate the gift card at a retail location in the United States. Gift cards were liquidated at retail

locations throughout the United States.

       10.     When victims mailed cash in parcels, some parcels were mailed to FedEx locations

inside various Walgreens drug stores, including stores within the Southern District of Texas.

       11.     When a parcel containing victim cash was mailed to a FedEx location inside a

Walgreens drug store:

               a.       A handler(s) would send a runner to pick up the parcel using a

                        false identification document matching the name of the recipient

                        on the parcel.

               b.       When the runner had the parcel, the runner would make a video

                        recording counting the cash in the parcel.

               c.       The runner would send the video recording to other co-

                        conspirator(s), including his or her handler(s).




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               d.      After taking a cut of the proceeds from the cash, the runner

                       would deliver to others or transmit of the remaining cash, as

                       directed by his or her handler(s).

B.     Overt Acts

Victim G.S.

       12.     In August 2019, an unindicted co-conspirator(s) called Victim G.S. in New York,

NY.    The unindicted co-conspirator(s), purporting to be calling from the Social Security

Administration, falsely claimed that G.S.’s social security number had been compromised and

used to commit various crimes. At the direction of the unindicted co-conspirator(s), G.S. mailed

a parcel containing cash addressed to “Barrat Moraes” at a FedEx location inside a Walgreens drug

store in Houston, Texas.

       13.     After the parcel was mailed by Victim G.S., its status was tracked online by SOHIL

USMANGANI VAHORA.

       14.     On or about August 9, 2019, an unindicted co-conspirator (“UC #1”), a runner

managed by SOHIL USMANGANI VAHORA, entered the Walgreens store in Houston, Texas,

presented a false identification document with the name “Barrat Moraes,” and was given the parcel

mailed by Victim G.S.

Victim R.E.

       15.     Beginning on or about August 6, 2019, an unindicted co-conspirator(s) called

Victim R.E. in Coral Gables, FL. The unindicted co-conspirator(s) falsely claimed that R.E. had

been the victim of identity theft and that she needed to send money to resolve the issue and protect

her identity. At the direction of the unindicted co-conspirator(s), R.E. mailed several parcels

containing cash. One parcel (“Parcel #1”) was addressed to “Aaric Thomas” at a FedEx location



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inside a Walgreens drug store in Houston, Texas. Another parcel (“Parcel #2”) was addressed to

“Aaric Thomas” at a FedEx location inside a Walgreens drug store in Missouri City, Texas.

       16.     After Parcel #1 was mailed by Victim R.E., its status was tracked online by SOHIL

USMANGANI VAHORA.

       17.     On or about September 17, 2019, UC #1, a runner managed by SOHIL

USMANGANI VAHORA, entered the Walgreens store in Houston, Texas, presented a false

identification document with the name “Aaric Thomas,” and was given Parcel #1 mailed by Victim

R.E.

       18.     After Parcel #2 was mailed by Victim R.E., its status was tracked online by SOHIL

USMANGANI VAHORA.

       19.     On or about September 19, 2019, UC #1, a runner managed by SOHIL

USMANGANI VAHORA, entered the Walgreens store in Missouri City, Texas, presented a false

identification document with the name “Aaric Thomas,” and was given Parcel #2 mailed by Victim

R.E.

Victim J.R.

       20.     Beginning on or about September 16, 2019, an unindicted co-conspirator(s) called

Victim J.R., a resident of Houston, Texas. The unindicted co-conspirator(s) falsely claimed that

J.R.’s social security number was associated with money laundering and drug trafficking and that

a warrant had been issued for her arrest. At the direction of the unindicted co-conspirator(s), J.R.

mailed a parcel containing cash from Houston, Texas, to “Smith Cruz” at a FedEx location inside

a Walgreens drug store in Skokie, Illinois.




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       21.     On or about September 23, 2019, AMIRSINH DIWAN entered the Walgreens

drug store in Skokie, Illinois, presented a false identification document with the name “Smith

Cruz,” and was given the parcel mailed by Victim J.R.

Victim P.W.

       22.     On multiple dates in November 2019, an unindicted co-conspirator(s) called Victim

P.W. in Van Vleck, Texas. The unindicted co-conspirator(s), purporting to be calling from the

Social Security Administration, falsely claimed that P.W. was going to be arrested for money

laundering. At the direction of the unindicted co-conspirator(s), P.W. mailed from Bay City,

Texas, a parcel containing cash and addressed to “Parker Green” at a FedEx location inside a

Walgreens drug store in River Grove, Illinois.

       23.     On or about November 11, 2019, AMIRSINH DIWAN entered the Walgreens

store in River Grove, Illinois, presented a false identification document with the name “Parker

Green,” and was given the parcel mailed by Victim P.W.

Victim C.K.

       24.     Beginning in or about July 2020, an unindicted co-conspirator(s) called Victim

C.K. in Schulenberg, Texas. The unindicted co-conspirator(s), purporting to call from the Drug

Enforcement Administration (DEA), falsely claimed that her social security number was being

used by drug traffickers and money launderers.          At the direction of the unindicted co-

conspirator(s), C.K. mailed from Gonzalez, Texas, a parcel containing cash and addressed to “Phil

Orchez” at a FedEx location inside a Walgreens drug store in Schererville, Indiana.

       25.     After the parcel was mailed by Victim C.K., its status was tracked online by

ZAHEEN MALVI.




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Victim H.R.

       26.     In or about July 2020, an unindicted co-conspirator(s) called Victim H.R. in Corpus

Christi, Texas. The unindicted co-conspirator(s) falsely claimed to be calling from a government

agency. At the direction of the unindicted co-conspirator(s), H.R. mailed from Corpus Christi,

Texas, a parcel containing cash and addressed to “Roc Cohen” at a FedEx location inside a

Walgreens drug store in Munster, Indiana.

       27.     After the parcel was mailed by Victim H.R., its status was tracked online by

ZAHEEN MALVI.

       28.     On or about July 31, 2020, an unindicted co-conspirator (“UC #2”), a runner

managed by SOHIL USMANGANI VAHORA and ZAHEEN MALVI, entered the Walgreens

store in Munster, Indiana, presented a false identification document with the name “Roc Cohen,”

and was given the parcel mailed by Victim H.R.

Victim T.V.

       29.     Beginning on or about July 31, 2020, an unindicted co-conspirator(s) called Victim

T.V. in Spring, Texas. The unindicted co-conspirator(s), purporting to call from the Treasury

Department, falsely claimed that her social security number was associated with money laundering

and drug trafficking and money was needed for an investigation. At the direction of the unindicted

co-conspirator(s), T.V. mailed from Spring, Texas, a parcel containing cash and addressed to

“Frank Platz” at a FedEx location inside a Walgreens drug store in Valparaiso, Indiana.

       30.     After the parcel was mailed by Victim T.V., its status was tracked online by

ZAHEEN MALVI.

       31.     On or about August 3, 2020, UC #2, a runner managed by SOHIL USMANGANI

VAHORA and ZAHEEN MALVI, entered the Walgreens store in Valparaiso, Indiana, presented



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a false identification document with the name “Frank Platz,” and was given the parcel mailed by

Victim T.V.

Victim J.F.

       32.     On or about June 10, 2020, an unindicted co-conspirator(s) called Victim J.F. in

Houston, Texas. The unindicted co-conspirator(s) falsely claimed to be a representative of a

computer tech support company and convinced J.F. that he had been overpaid a refund. At the

direction of the unindicted co-conspirator(s), J.F. mailed from Houston, Texas, a parcel containing

cash and addressed to “Justin Hill” at a FedEx location inside a Walgreens drug store in Racine,

Wisconsin.

       33.     After the parcel was mailed by Victim J.F., its status was tracked online by

ZAHEEN MALVI.

       34.     On August 6, 2020, UC #2, a runner managed by               SOHIL USMANGANI

VAHORA and ZAHEEN MALVI, entered the Walgreens drug store in Racine, Wisconsin, and

presented a false identification document with the name “Justin Hill,” and was given the parcel

mailed by Victim J.F.

       All in violation of Title 18, United States Code, Section 1349.

                                COUNTS TWO THROUGH TEN
                               (Mail Fraud – 18 U.S.C. §§ 1341 and 2)

       The Grand Jury re-alleges Paragraphs 1 - 34 of this Indictment.

       35.     On or about the dates set forth below, in the Southern District of Texas and

elsewhere, the defendants set forth below, with the intent to defraud, willfully participated in, with

knowledge of its fraudulent nature, the above-described scheme and artifice to defraud and to

obtain money and property by materially false and fraudulent pretenses, representations, and

promises, and for the purpose of executing or attempting to execute the above-described scheme

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                                 NOTICE OF FORFEITURE
                        18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)

        Pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

Code, Section 2461(c), the United States gives notice to Defendants,

                  (1) SOHIL USMANGANI VAHORA aka Sam aka Bapu,
            (2) ZAHEEN RAFIKBHAI MALVI aka Zaheen Ganchi aka Zak, and
                       (3) AMIRSINH DIWAN aka Hasan aka Hassan

that in the event of conviction of Conspiracy to Commit Mail Fraud and Wire Fraud (18 U.S.C. §

1349) or Mail Fraud (18 U.S.C. 1341), the Defendants shall forfeit to the United States of America

all property, real or personal, which constitutes or is derived from proceeds traceable to said

violation(s).



                                  NOTICE OF FORFEITURE
                                    18 U.S.C. § 982(a)(1)

        Pursuant to Title 18, United States Code, Section 982(a)(1), the United States gives notice

to Defendants,

                  (1) SOHIL USMANGANI VAHORA aka Sam aka Bapu,
            (2) ZAHEEN RAFIKBHAI MALVI aka Zaheen Ganchi aka Zak, and
                       (3) AMIRSINH DIWAN aka Hasan aka Hassan

that in the event of conviction of Conspiracy to Commit Money Laundering (18 U.S.C. § 1956(h)),

the Defendants shall forfeit to the United States of America all property, real or personal, involved

in such offense, and all property traceable to such property.




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